           Case 3:18-cv-00899-JWD-EWD Document 1              10/10/18 Page 1 of 13




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF LOUISIANA

JEPRECE ROUSSELL, ON BEHALF OF                       §
AND AS TUTRIX FOR S.C.R., THE MINOR                  §
CHILD OF KIERSTON ROUSSELL,                          §
DECEASED,                                            §
                                                     §
               Plaintiff,                            §
                                                     §
vs.                                                  §   CIVIL ACTION
                                                     §
PBF CONSULTANTS, LLC; PBF HOLDING                    §   NO. 3:18-cv-00899-JWD-EWD
COMPANY, LLC; PBF INVESTMENTS,                       §
LLC; PBFX OPERATING COMPANY, LLC;                    §
CHALMETTE REFINING, LLC; CLEAN                       §
HARBORS, INC.; CLEAN HARBORS                         §
ENVIRONMENTAL SERVICES, INC.;                        §
JOHN SPRAFKA; and WAYNE LACOMB,                      §
                                                     §
               Defendants.                           §

                                   NOTICE OF REMOVAL

               Pursuant to 28 U.S.C. § 1441 et seq. and 28 U.S.C. § 1332, Defendants PBF

Holding Company LLC, PBFX Operating Company LLC, Chalmette Refining, L.L.C., John

Sprafka, and Wayne Lacomb (collectively, the “PBF Defendants”) hereby remove this action

from the 19th Judicial District Court, East Baton Rouge Parish, State of Louisiana, to the United

States District Court for the Middle District of Louisiana.

                                   I.      INTRODUCTION

               Plaintiff Jeprece Roussell (“Plaintiff”), on behalf of and as tutrix for S.C.R., a

minor child, filed a petition in the 19th Judicial District Court for East Baton Rouge Parish,

Docket No. C-672352, against the PBF Defendants and others on August 10, 2018, styled

Jeprece Roussell, on behalf of and as tutrix for S.C.R., the minor child of Kierston Roussell,

Deceased v. PBF Consultants, LLC, et al. Plaintiff served PBF Holding Company LLC with a


38769859                                         1
            Case 3:18-cv-00899-JWD-EWD Document 1               10/10/18 Page 2 of 13




citation and copy of the petition on September 10, 2018. As discussed further below, PBF

Holding Company LLC was the first of the PBF Defendants to be served.

                 Plaintiff filed this lawsuit following the death of Kierston Roussell (“Roussell”),

which occurred on March 31, 2018. Pl.’s Orig. Pet. ¶ 17. Plaintiff claims that Roussell was

working for Clean Harbors, Inc. and/or Clean Harbors Environmental Services, Inc. (the “Clean

Harbors Defendants”) on the date of the incident and was assigned to clean sand tanks at

Chalmette Refining, L.L.C.’s (“Chalmette Refining”) refinery in Chalmette, Louisiana. Id. at ¶

18. Plaintiff alleges that, while Roussell was performing this work, silica he was scraping off the

walls of one of the tanks fell and buried him. Id. Plaintiff claims that Roussell died as a result of

complications from this incident. Id. at ¶ 19. Plaintiff has asserted tort claims, including

negligence, gross negligence, intentional tort, and premises liability claims, against the PBF

Defendants and seeks to recover wrongful death and survival damages. Id. at ¶¶ 21-33.

                 For the reasons described in greater detail below, this Court has jurisdiction over

the state-court action pursuant to 28 U.S.C. § 1332 because it is a civil action in which the

amount in controversy exceeds the sum of $75,000, exclusive of interest and costs, and it is

between citizens of different states. Therefore, this action is one that may be removed to this

Court pursuant to the provisions of 28 U.S.C. § 1441.

                                II.      REMOVAL IS PROPER

A.         The amount in controversy exceeds $75,000.

                 It is apparent from the face of the petition that the amount in controversy exceeds

the sum of $75,000.00, exclusive of interest and costs. Plaintiff seeks to recover damages

against nine defendants following Roussell’s untimely death, which occurred while he was

engaged in activities at an industrial worksite. Plaintiff seeks to recover not only for Roussell’s


38769859                                          2
            Case 3:18-cv-00899-JWD-EWD Document 1              10/10/18 Page 3 of 13




injuries and damages, but also asserts claims on behalf of Roussell’s minor child, S.C.R., for

S.C.R.’s own damages. It is “facially apparent” that the value of Plaintiff’s claims likely exceeds

$75,000. See Garcia v. Koch Oil Co. of Tex., Inc., 351 F.3d 636, 639 (5th Cir. 2003).

                 Lest there be any doubt as to the amount in controversy, Plaintiff affirmatively

alleges that she “seeks damages far in excess of $75,000.” Pl.’s Orig. Pet. ¶ 4. “Absent a

showing that the assertion was not in good faith or evidence establishing to a legal certainty that

[a plaintiff’s] claims are really less than the jurisdictional amount, [plaintiff’s] own allegation

regarding the amount in controversy controls.” Clark v. Childs, No. CV 16-862-SDD-EWD,

2017 WL 3140793, at *2 (M.D. La. June 16, 2017), report and recommendation adopted, No.

CV 16-862-SDD-EWD, 2017 WL 3140789 (M.D. La. July 24, 2017) (holding that defendant

established amount in controversy in removing lawsuit to federal court by citing to the plaintiffs’

claim in their petition that “this case involves damages in excess of $75,000.00, exclusive of

interest and costs”).

B.         There is complete diversity of citizenship because all non-diverse defendants have
           been improperly joined.

                 John Sprafka and Wayne Lacomb work in managerial roles at the refinery where

the incident occurred and had no personal involvement in the incident, and two entities named as

defendants—PBF Consultants, LLC and PBF Investments, LLC—have no connection

whatsoever to the incident, the refinery, or any of the PBF Defendants. None of these defendants

are proper parties to this lawsuit.

                 At the time of commencement of the state court action, at the time of removal,

and at present, both Sprafka and Lacomb were and are domiciled in and citizens of the State of

Louisiana. As limited liability companies, the citizenship of PBF Consultants, LLC and PBF



38769859                                         3
           Case 3:18-cv-00899-JWD-EWD Document 1                 10/10/18 Page 4 of 13




Investments, LLC is determined by the citizenship of their members. Harvey v. Grey Wolf

Drilling Co., 542 F.3d 1077, 1080 (5th Cir. 2008). The sole member of both PBF Consultants,

LLC and PBF Investments, LLC is Peyton Farr. At the time of commencement of the state court

action, at the time of removal, and at present, Farr was and is domiciled in and a citizen of the

State of Louisiana. Were any of these defendants proper parties to this lawsuit, their presence

would preclude the Court’s exercise of its diversity jurisdiction. However, because all were

improperly joined, their citizenship is ignored for purposes of the removal analysis.             See

Edwards v. Liberty Mut. Ins. Co., No. 5-19-SDD-SCR, 2015 WL 2358256, at *3 (M.D. La. May

15, 2015).

               A defendant is improperly joined if there is no possibility of recovery by the

plaintiff, meaning that “there is no reasonable basis for the district court to predict that the

plaintiff might be able to recover” against the non-diverse defendant. Smallwood v. Ill. Cent.

R.R. Co., 385 F.3d 568, 573 (5th Cir. 2004) (en banc). “This means that there must be a

reasonable possibility of recovery, not merely a theoretical one.” Campbell v. Stone Ins., Inc.,

509 F.3d 665, 669 (5th Cir. 2007) (emphasis in original) (quoting Ross v. Citifinancial, Inc., 344

F.3d 458, 462 (5th Cir. 2003)). The focus is on plaintiff’s pleadings at the time of removal.

Cavallini v. State Farm Mut. Auto Ins. Co., 44 F.3d 256, 264 (5th Cir. 1995).

               The Court “conduct[s] a Rule 12(b)(6)-type analysis” to determine whether there

is a reasonable basis to predict that the plaintiff may recover from the non-diverse defendant.

Anderson v. Georgia Gulf Lake Charles, LLC, 342 Fed. App’x 911, 915 (5th Cir. 2009). In

addition, “if the plaintiff has stated a claim, but has misstated or omitted discrete facts that would

determine the propriety of joinder, the district court may pierce the pleadings and conduct a

summary inquiry.” Id. (internal quotations omitted).


38769859                                          4
           Case 3:18-cv-00899-JWD-EWD Document 1                 10/10/18 Page 5 of 13




               1.      John Sprafka and Wayne Lacomb were improperly joined because
                       there is no possibility that Plaintiff can establish a cause of action
                       against them.

               Neither John Sprafka nor Wayne Lacomb had any personal dealings with

Roussell or was even aware that he was performing work at the refinery at the time of the

incident, nor were they delegated any personal duty or responsibility with respect to the work

Roussell was performing. Both Sprafka and Lacomb serve in managerial roles at the Chalmette

Refinery. John Sprafka is currently the Operations Manager for the refinery and held this

position at the time of the incident as well.         In this role, he has general administrative

responsibility for the overall operations at the site. Wayne Lacomb (both at the time of the

incident and at present) is a Safety, Health, Environmental, and Security Supervisor for the

refinery and administers the health program for the site.

               Under Louisiana law, executive officers or employees of a corporate defendant

can be held liable for personal injuries to a third party only in certain limited circumstances:

               Referred to as “Canter liability,” after the Louisiana Supreme
               Court decision in which it was established, Plaintiffs must prove
               the following elements in order to recover: (1) [the employer of the
               individual defendant] owed a duty of care to [the injured party], the
               breach of which caused the damages for which recovery is sought;
               (2) [the employer of the individual defendant] delegated its duty to
               [the individual defendant]; and (3) [the individual defendant]
               breached the delegated duty through “personal (as contrasted with
               technical or vicarious) fault”; but (4) “personal liability cannot be
               imposed upon [the individual defendant] simply because of his
               general administrative responsibility for performance of some
               function of the employment.”

Kemp v. CTL Distribution, Inc., 440 Fed. App’x 240, 245 (5th Cir. 2011) (quoting Canter v.

Koehring Co., 283 So.2d 716, 721 (La. 1973)).




38769859                                          5
           Case 3:18-cv-00899-JWD-EWD Document 1                10/10/18 Page 6 of 13




               There is no reasonable possibility that Plaintiff can establish the latter three

elements with respect to Sprafka and Lacomb. Both Sprafka and Lacomb’s responsibilities at

the site are managerial in nature, with Sprafka being responsible for the overall operations at the

site and Lacomb being responsible for the overall health program at the site. Neither had

personal knowledge of the work being performed by Roussell until after the incident or was

personally involved in overseeing or managing that work. Likewise, neither personally inspected

the location where the incident occurred or interacted directly with the Clean Harbors

Defendants related to the work. Finally, Sprafka and Lacomb were not delegated any duties by

Chalmette Refining (or any of the other PBF Defendants) that were owed to Roussell in

connection with the work he was doing at the time of the incident.

               Consistent with their lack of involvement in this incident, Plaintiff fails to allege

any facts that could support subjecting Sprafka and Lacomb to personal liability. Plaintiff’s sole

allegations specific to these two individuals are that there was “unsafe and inadequate

supervision, including but not limited to supervision by Defendants’ managers, supervisors, and

employees—including specifically Defendant John Sprafka as the Operations Manager for the

refinery and Defendant Wayne Lacomb as the Safety and Health Supervisor for the refinery.”

Pl.’s Orig. Pet. ¶ 23(g). These bare allegations fail entirely to state a claim for Canter liability

under Federal Rule of Civil Procedure 12(b)(6).

               Courts have routinely held that individual defendants are improperly joined in the

circumstances presented in this case. See Kemp, 440 Fed. App’x at 246 (holding that motion to

remand was properly denied because “Plaintiffs . . . merely alleged that [a plant manager] had

general safety responsibilities” and had not “alleged facts or identified evidence that create a

possibility that [the plant manager] owed a personal duty to [the injured party] to ensure that the


38769859                                          6
            Case 3:18-cv-00899-JWD-EWD Document 1              10/10/18 Page 7 of 13




trailer he worked on was toxin-free”); Whitehead v. Int’l Paper Co., No. 1:16-CV-00176, 2016

WL 6272456, at *2 (W.D. La. Sept. 29, 2016), report and recommendation adopted, No. 1:16-

CV-00176, 2016 WL 6271076 (W.D. La. Oct. 26, 2016) (recognizing that plant manager was

improperly joined in lawsuit resulting from the death of a worker for a contractor at an industrial

site because the “balance of Plaintiffs’ allegations establish nothing more than [the manager’s]

general administrative responsibilities”); Gros v. Warren Properties, Inc., No. 12-2184, 2012

WL 5906724, at *10 (E.D. La. Nov. 26, 2012) (“Because Plaintiff has not alleged that Bodine

actually knew about the allegedly defective condition of the lighting and failed to take steps to

repair it or that Bodine was personally involved in creating the allegedly defective condition, it

appears that Plaintiff is seeking to impose liability on Bodine for a breach of general

administrative duties as a resident apartment manager to supervise, inspect, and test, rather than

breach of a personal duty, which Canter prohibits.”).

                Because Sprafka and Lacomb were improperly joined, their citizenship is ignored

for purposes of the removal analysis. See Edwards, 2015 WL 2358256, at *3.

                2.     PBF Consultants, LLC and PBF Investments, LLC were improperly
                       joined because there is no possibility that Plaintiff can establish a
                       cause of action against them.

                PBF Consultants, LLC and PBF Investments, LLC are unknown to the PBF

Defendants. Neither has any ownership interest in or involvement with the Chalmette Refining

refinery.    Nor are they related or affiliated in any way with any of the PBF Defendants.

Plaintiff’s petition contains no allegations specific to either entity that would establish any

connection to this incident, and it appears they were joined solely because their names include

“PBF.” From limited research, it appears that PBF Consultants, LLC and PBF Investments, LLC

are engaged in the insurance business in Monroe, Louisiana.


38769859                                        7
           Case 3:18-cv-00899-JWD-EWD Document 1                   10/10/18 Page 8 of 13




                The Fifth Circuit has made clear that a plaintiff’s failure to include specific

factual allegations concerning a non-diverse defendant in her petition warrants a finding of

improper joinder. Griggs v. State Farm Lloyds, 181 F.3d 694, 699 (5th Cir. 1999). In Griggs,

the Fifth Circuit held that a motion to remand was properly denied because the plaintiff

“allege[d] no actionable facts specific to [the non-diverse defendant]”:

                The only factual allegation even mentioning [the non-diverse
                defendant] merely state[d] that “Defendants [sic], through its local
                agent, [the non-diverse defendant] issued an insurance policy.”
                The remainder of [plaintiff’s] pleadings refer to conduct by the
                “Defendants” that can in no way be attributed to [the non-diverse
                defendant].

Id.

                Here, Plaintiff includes no allegations specific to these two entities. Rather, her

petition is replete with generalized allegations directed indiscriminately at all of the defendants.

This is wholly insufficient. See id. Because Plaintiff has no possibility of recovery against PBF

Consultants, LLC and PBF Investments, LLC, their citizenship is ignored in the removal

analysis. See Edwards, 2015 WL 2358256, at *3.

                3.      All remaining defendants are diverse from Plaintiff and S.C.R.

                Defendants PBF Holding Company LLC, PBFX Operating Company LLC,

Chalmette Refining, L.L.C., Clean Harbors, Inc., and Clean Harbors Environmental Services,

Inc. are diverse from Plaintiff and S.C.R.1 Upon information and belief, at the time of the

commencement of the state court action, at the time of removal, and at present, Plaintiff and

S.C.R. were and are domiciled in and citizens of Louisiana. Pl.’s Orig. Pet. ¶ 7.


1
        By identifying these defendants as diverse from Plaintiff, the PBF Defendants do not concede that
any are proper parties to this lawsuit or liable to Plaintiff for any of the damages she seeks.



38769859                                           8
           Case 3:18-cv-00899-JWD-EWD Document 1                   10/10/18 Page 9 of 13




                PBF Holding Company LLC, PBFX Operating Company LLC, and Chalmette

Refining, L.L.C. are Delaware limited liability companies. As a result, their citizenship is

determined by the citizenship of their members. Harvey, 542 F.3d at 1080.2

                The sole member of Defendant Chalmette Refining, L.L.C. is Defendant PBF

Holding Company LLC. The sole member of Defendant PBF Holding Company LLC is PBF

Energy Company LLC, a Delaware limited liability company. The members of PBF Energy

Company LLC are as follows: PBF Energy, Inc. (incorporated in Delaware, with its principal

place of business in New Jersey), John Barone (domiciled in and a citizen of New Jersey), James

Fedena (domiciled in and a citizen of Pennsylvania), Michael Gayda (domiciled in and a citizen

of Florida), Wendy HoTai (domiciled in and a citizen of New York), Richard Loew (domiciled

in and a citizen of Texas), Matthew Lucey (domiciled in and a citizen of Connecticut), Thomas

Nimbley (domiciled in and a citizen of New Jersey), Todd O’Malley (domiciled in and a citizen

of Florida), Herman Seedorf (domiciled in and a citizen of Pennsylvania), Clark Wrigley

(domiciled in and a citizen of Pennsylvania), James Yates (domiciled in and a citizen of New

Hampshire), Charles Erik Young (domiciled in and a citizen of New Jersey), David Alvarez

(domiciled in and a citizen of Texas), Dennis Houston (domiciled in and a citizen of Texas),

Steve Krynski (domiciled in and a citizen of Pennsylvania), Carette Nelson (domiciled in and a

citizen of Massachusetts), Joni Eisenmann (domiciled in and a citizen of New Jersey), Earle

Biddle (domiciled in and a citizen of Delaware), Abraham Spencer (domiciled in and a citizen of




2
         All statements regarding the membership of these limited liability companies and the citizenship
of those members apply as of the date of removal, at the time of the commencement of the state court
action, and at present.



38769859                                           9
           Case 3:18-cv-00899-JWD-EWD Document 1                  10/10/18 Page 10 of 13




Virginia), and Stonerise 2 Holding Limited Partnership (a Nevada limited partnership, the sole

member of which is Jefferson Allen, who is domiciled in and a citizen of Nevada).3

                 The sole member of Defendant PBFX Operating Company LLC is PBF Logistics

LP, a Delaware limited partnership.         The partners of PBF Logistics LP are PBF Energy

Company LLC (the members of which are identified above) and PBF Logistics GP LLC, a

Delaware limited liability company. PBF Energy Company LLC is the sole member of PBF

Logistics GP LLC.

                 Finally, Defendants Clean Harbors, Inc. and Clean Harbors Environmental

Services, Inc. were both incorporated in Massachusetts, and each also has its principal place of

business in Massachusetts.

                 Because Defendants PBF Holding Company LLC, PBFX Operating Company

LLC, Chalmette Refining, L.L.C., Clean Harbors, Inc., and Clean Harbors Environmental

Services, Inc. are not citizens of Louisiana for purposes of the removal analysis, complete

diversity exists.

C.         The procedural requirements for removal are satisfied.

                 This action was timely removed to this Court pursuant to 28 U.S.C. § 1446(b)

because the PBF Defendants’ Notice of Removal (R. Doc. 1.) was filed within thirty days of

when PBF Holding Company LLC was served with Plaintiff’s petition and is being substituted

with this Notice of Removal pursuant to the Court’s October 22, 2018 Notice and Order (R. Doc.




3
         The PBF Defendants indicated that 22 individuals are members of PBF Energy Company LLC in
their initial Notice of Removal. (R. Doc. 1, 8.) However, the 19 individuals identified above are in fact
the only people that have a membership interest in PBF Energy Company LLC.



38769859                                           10
           Case 3:18-cv-00899-JWD-EWD Document 1               10/10/18 Page 11 of 13




7).4 See 28 U.S.C. § 1446(b)(1). The Clean Harbors Defendants consent to removal. R. Doc. 3.

While unnecessary because they have been improperly joined, see Rico v. Flores, 481 F.3d 234,

239 (5th Cir. 2007), PBF Consultants, LLC and PBF Investments, LLC also consent to removal.

R. Doc. 5.

                The United States District Court for the Middle District of Louisiana embraces the

parish in which the state-court action now pends. Therefore, this Court is a proper venue for this

action pursuant to 28 U.S.C. §§ 98(b) & 1441(a).

                Pursuant to 28 U.S.C. § 1446(a), the PBF Defendants are attaching a copy of all

process, pleadings, and orders served with this notice of removal.

                Pursuant to 28 U.S.C. § 1446(d), the PBF Defendants are simultaneously filing a

written notice of this removal with the district clerk of the state court where the action currently

pends. Copies of the notice of filing notice of removal, together with this notice of removal, are

being served upon Plaintiff pursuant to 28 U.S.C. § 1446(d), and upon all known counsel of

record in this action.

                                   III.      CONCLUSION

                The PBF Defendants pray that this Court take jurisdiction of this action to its

conclusion, to the exclusion of any further proceedings in the state court in accordance with the

above law.




4
        The remaining PBF Defendants have either not been served or were served after PBF Holding
Company LLC: PBFX Operating Company LLC (not yet served), Chalmette Refining, L.L.C. (served on
September 20, 2018), John Sprafka (citation issued on September 14, 2018), and Wayne Lacomb (served
on September 19, 2018).



38769859                                        11
           Case 3:18-cv-00899-JWD-EWD Document 1    10/10/18 Page 12 of 13




Date: October 29, 2018                   Respectfully submitted,

                                         BAKER BOTTS L.L.P.

                                         By: /s/ Tynan Buthod
                                             Tynan Buthod — Lead Attorney
                                             Louisiana Bar Number 34901
                                             Benjamin Gonsoulin
                                             Louisiana Bar Number 34562
                                             BAKER BOTTS L.L.P.
                                             910 Louisiana Street
                                             Houston, Texas 77002
                                             Telephone: (713) 229-1912
                                             Facsimile: (713) 229-2712
                                             ty.buthod@bakerbotts.com
                                             ben.gonsoulin@bakerbotts.com

                                         ATTORNEYS FOR DEFENDANTS PBF
                                         HOLDING COMPANY LLC, PBFX
                                         OPERATING COMPANY LLC,
                                         CHALMETTE REFINING, L.L.C., JOHN
                                         SPRAFKA, AND WAYNE LACOMB




38769859                               12
           Case 3:18-cv-00899-JWD-EWD Document 1          10/10/18 Page 13 of 13




                                CERTIFICATE OF SERVICE

       I hereby certify that on October 29, 2018, a true and exact copy of the foregoing was
served on the following counsel of record via the Court’s electronic filing system:


 Roland Christensen                               A.M. “Tony” Clayton
 Arnold & Itkin LLP                               Michael P. Frugé
 6009 Memorial Drive                              Richard J. Ward, III
 Houston, TX 77007                                Clayton, Frugé & Ward
 rchristensen@arnolditkin.com                     3741 La. Highway 1 South
 e-service@arnolditkin.com                        Port Allen, LA 70767
                                                  tclaytonlaw@aol.com
                                                  michaelfruge@claytonfrugelaw.com
                                                  rickward3rd@gmail.com


 Kent M. Adams                                    K. Lamar Walters, III
 Lori D. Barker                                   R. Alan Breithaupt
 Wilson Elser Moskowitz Edelman & Dicker LLP      Briethaupt, DuBos & Wolleson
 650 Poydras Street, Suite 2200                   1811 Tower Drive
 New Orleans, LA 70130                            Monroe, LA 71201
 kent.adams@wilsonelser.com                       lamar@bdw.law
 lori.barker@wilsonelser.com                      alan@bdw.law



                                                 /s/ Benjamin Gonsoulin
                                                 Benjamin Gonsoulin




38769859                                    13
